            Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 1 of 25




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

 IOT INNOVATIONS LLC,                                          Civil Action No. 23-cv-10520
                    Plaintiff,
            v.                                                 JURY TRIAL DEMANDED
 SIMPLISAFE, INC.,
                    Defendant.


                           COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff IoT Innovations LLC (“IoT Innovations” or “Plaintiff”) files this complaint

against SimpliSafe, Inc. (“SimpliSafe” or “Defendant”) alleging, based on its own knowledge as

to itself and its own actions, and based on information and belief as to all other matters, as follows:

                                         NATURE OF THE ACTION

       1.        This is a patent infringement action to stop Defendant’s infringement of the following

United States Patents (collectively, the “Asserted Patents”) issued by the United States Patent and

Trademark Office (“USPTO”), copies of which are attached hereto as Exhibit A, Exhibit B,

Exhibit C, Exhibit D, Exhibit E, and Exhibit F:

                     U.S. Patent No.                                 Title
  A.                    6,801,933            System And Method For Proactive Caching Employing
                   (the “’933 patent”)       Graphical Usage Description

  B.                    7,379,464            Personal Digital Gateway
                   (the “’464 patent”)
  C.                    7,756,073            Method For Updating A Routing Entry
                   (the “’073 patent”)
  D.                    7,394,798            Push-To Talk Over Ad-Hoc Networks
                   (the “’798 patent”)
  E.                    7,593,428            Apparatus, And Associated Method, For Forming, And
                   (the “’428 patent”)       Operating Upon, Multiple-Checksum-Protected Data
                                             Packet
            Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 2 of 25




                 U.S. Patent No.                                 Title
  F.                7,304,570            Methods, Systems, And Computer Program Products
               (the “’570 patent”)       For Providing Context-Based, Hierarchical Security For
                                         A Mobile Device

       2.    Plaintiff seeks injunctive relief and monetary damages.

                                             PARTIES

       3.    Plaintiff is a limited liability company formed under the laws of Texas with a

registered office address located in Austin, Texas (Travis County).

       4.    SimpliSafe is a corporation organized under the laws of the State of Delaware since

August 11, 2006.

       5.    SimpliSafe has its principal place of business located at 100 Summer Street Suite, 300,

Boston, Massachusetts 02110.

       6.    SimpliSafe may be served through its registered agent for service, Christian Cerda,

also located at 100 Summer Street Suite, 300, Boston, Massachusetts 02110.

                                 JURISDICTION AND VENUE

       7.    Plaintiff repeats and re-alleges the allegations in Paragraphs above as though fully set

forth in their entirety.

       8.    This is an action for infringement of a United States patent arising under 35 U.S.C. §§

271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action under

28 U.S.C. § 1331 and § 1338(a).

       9.    Venue is proper against Defendant in this District pursuant to 28 U.S.C. § 1400(b) and

1391(c) because it has maintained established and regular places of business in this District and

has committed acts of patent infringement in the District. See In re: Cray Inc., 871 F.3d 1355,

1362-1363 (Fed. Cir. 2017).

    10.      Defendant is subject to this Court’s specific and general personal jurisdiction under


                                              Page | 2
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 3 of 25




due process because of Defendant’s substantial business in this judicial District, including: (i) at

least a portion of the infringements alleged herein; and (ii) regularly doing or soliciting business,

engaging in other persistent courses of conduct, or deriving substantial revenue from goods and

services provided to individuals in this state and in this District.

    11.      Specifically, SimpliSafe intends to do and does business in, has committed acts of

infringement in, and continues to commit acts of infringement in this District directly, through

intermediaries, by contributing to and through inducement of third parties, and offers its products

or services, including those accused of infringement here, to customers and potential customers

located in this state, including in this District.

    12.      SimpliSafe maintains regular and established places of business in this District.

    13.      SimpliSafe offers products and services and conducts business in this District as

described below.

    14.      SimpliSafe ships and causes to be shipped into the District infringing products and

materials instructing its customers to perform infringing activities to its employees, exclusive and

non-exclusive contractors, agents, and affiliates for installation, operation, and service at locations

within this District.

    15.      Defendant commits acts of infringement from this District, including, but not limited

to, use of the Accused Instrumentalities and inducement of third parties to use the Accused

Instrumentalities in an infringing manner.

                            THE ACCUSED INSTRUMENTALITIES

    16.      Plaintiff repeats and re-alleges the allegations in Paragraphs above as though fully set

forth in their entirety.

    17.      Based upon public information, SimpliSafe owns, operates, advertises, and/or controls




                                                 Page | 3
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 4 of 25




the website and domain simplisafe.com, through which it advertises, sells, offers to sell, provides

and/or educates customers about its products and services. See, e.g., Exhibit G.

    18.      Defendant uses, causes to be used, sells, offers for sale, provides, supplies, or

distributes its home security platform and systems, including but not limited to the SimpliCam

Indoor Camera, the Inside SimpliSafe Alarm Systems, the SimpliSafe Account, the SimpliSafe

Doorbell Pro, and associated hardware and software (the “Accused Instrumentalities”). See, e.g.,

Exhibit H, Exhibit I, and Exhibit J.

    19.      Defendant also instructs its customers, agents, employees, and affiliates regarding how

to use the Accused Instrumentalities for home security and control. See, e.g., Ex. H; Ex. I.

    20.      For these reasons and the additional reasons detailed below, the Accused

Instrumentalities practice at least one claim of each of the Asserted Patents.

                COUNT I: INFRINGEMENT OF U.S. PATENT NO. 6,801,933

    21.      Plaintiff repeats and re-alleges the allegations in the Paragraphs above as though fully

set forth in their entirety.

    22.      The USPTO duly issued U.S. Patent No. 6,801,933 (hereinafter, the “’933 patent”) on

October 5, 2004, after full and fair examination of Application No. 09/644,054 which was filed on

August 23, 2000. See Ex. A, at A-1.

    23.      IoT Innovations owns all substantial rights, interest, and title in and to the ’933 patent,

including the sole and exclusive right to prosecute this action and enforce it against infringers and

to collect damages for all relevant times.

    24.      The claims of the ’933 patent are not directed to an abstract idea and are not limited to

well-understood, routine, or conventional activity.        Rather, the claimed inventions include

inventive components and functionalities that improve tools for searching electronic information



                                               Page | 4
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 5 of 25




repositories and retrieving relevant results using queries and results built from natural language.

    25.     The written description of the ’933 patent describes in technical detail each limitation

of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

conventional and non-generic combination of claim limitations is patently distinct from and

improved upon what may have been considered conventional or generic in the art at the time of

the invention.

    26.     Defendant has directly infringed one or more claims of the ’933 patent by using,

providing, supplying, or distributing the Accused Instrumentalities.

    27.     Defendant has directly infringed, either literally or under the doctrine of equivalents,

at least claim 7 of the ’933 patent.

    28.     For example, Defendant, using the Accused Instrumentalities, including but not

limited to the SimpliCam Indoor Camera, performs a method, comprising receiving a request for

data; producing a current state based on the request; determining a next state based on the current

state; caching data based on the current state and the next state; and associating the request with a

user of an application having a plurality of states, wherein the user is located in one of the plurality

of states. See, e.g., Ex. H.

    29.     Defendant performs this method by, for example, installing the SimpliCam Indoor

Camera using the SimpliSafe app. See, e.g., Exhibit M.

    30.     IoT Innovations or its predecessors-in-interest have satisfied all statutory obligations

required to collect pre-filing damages for the full period allowed by law for infringement of one

or more claims of the ’933 patent.

    31.     IoT Innovations has been damaged as a result of the infringing conduct by Defendant

alleged above. Thus, Defendant is liable to IoT Innovations in an amount that compensates it for




                                               Page | 5
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 6 of 25




such infringements, which by law cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

                 COUNT II: INFRINGEMENT OF U.S. PATENT NO. 7,379,464

    32.      Plaintiff repeats and re-alleges the allegations in the Paragraphs above as though fully

set forth in their entirety.

    33.      The USPTO duly issued U.S. Patent No. 7,379,464 (hereinafter, the “’464 patent”) on

May 27, 2008, after full and fair examination of Application No. 10/306,504 which was filed on

November 27, 2002. See Ex. B, at B-1.

    34.      IoT Innovations owns all substantial rights, interest, and title in and to the ’464 patent,

including the sole and exclusive right to prosecute this action and enforce it against infringers and

to collect damages for all relevant times.

    35.      The claims of the ’464 patent are not directed to an abstract idea and are not limited to

well-understood, routine, or conventional activity.        Rather, the claimed inventions include

inventive components and functionalities that improve tools for searching electronic information

repositories and retrieving relevant results using queries and results built from natural language.

    36.      The written description of the ’464 patent describes in technical detail each limitation

of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

conventional and non-generic combination of claim limitations is patently distinct from and

improved upon what may have been considered conventional or generic in the art at the time of

the invention.

    37.      Defendant has directly infringed and continues to directly infringe one or more claims

of the ’464 patent by using, providing, supplying, or distributing the Accused Instrumentalities.

    38.      Defendant has directly infringed, either literally or under the doctrine of equivalents,



                                               Page | 6
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 7 of 25




at least claim 1 of the ’464 patent.

    39.     For example, Defendant, using the Accused Instrumentalities, including but not

limited to SimpliSafe’s Alarm System, performs a method, comprising selecting a user's

communications device from a plurality of communications devices to communicate data between

a personal digital gateway and the selected communications device, the data associated with a

common user of the personal digital gateway and of the selected communications device; storing

profiles for each of the user’s communications devices; retrieving a profile associated with the

selected communications device; interpreting the data according to a rule-based engine to

categorize the data as at least one of (1) data associated with an access agent, (2) data associated

with a configuration agent, (3) data associated with a security agent, and (4) data associated with

a management agent; processing the data according to an edge side assembler; and communicating

the data and the profile to the selected communications device. See, e.g., Ex. H.

    40.     Defendant performs this method by, for example, installing and using the SimpliSafe

Alarm System including, but not limited to, the Keypad, Base Station, and Motion Sensors. See,

e.g., Exhibit N; Ex. J. For example, installation and use of the SimpliSafe Alarm System each

rely on and utilize SimpliSafe’s encryption technology to ensure that data communicated within

or to the system constitutes an authorized use of the system in a manner that infringes at least claim

1 of the ’464 patent. See, e.g., Exhibit O.

    41.     IoT Innovations or its predecessors-in-interest have satisfied all statutory obligations

required to collect pre-filing damages for the full period allowed by law for infringement of one

or more claims of the ’464 patent.

    42.     Since at least the time of receiving the original complaint in this action, Defendant has

also indirectly infringed and continues to indirectly infringe one or more claims of the ’464 patent




                                              Page | 7
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 8 of 25




by inducing others to directly infringe said claims. Defendant has induced end-users, including,

but not limited to, Defendant’s employees, partners, or contractors, to directly infringe, either

literally or under the doctrine of equivalents, the ’464 patent by providing or requiring use of the

Accused Instrumentalities. Defendant has taken active steps, directly or through contractual

relationships with others, with the specific intent to cause them to use the Accused

Instrumentalities in a manner that infringes one or more claims of the ’464 patent, including, for

example, claim 1. Such steps by Defendant included, among other things, advising or directing

personnel, contractors, or end-users to use the Accused Instrumentalities in an infringing manner;

advertising and promoting the use of the Accused Instrumentalities in an infringing manner; or

distributing instructions that guide users to use the Accused Instrumentalities in an infringing

manner. Defendant is performing these steps, which constitute induced infringement with the

knowledge of the ’464 patent and with the knowledge that the induced acts constitute infringement.

Defendant is aware that the normal and customary use of the Accused Instrumentalities by others

would infringe the ’464 patent. Defendant’s inducement is ongoing. See, e.g., Ex. I.

    43.     Defendant has also indirectly infringed and continues to indirectly infringe by

contributing to the infringement of the ’464 patent. Defendant has contributed to the direct

infringement of the ’464 patent by its personnel, contractors, and customers. The Accused

Instrumentalities have special features that are specially designed to be used in an infringing way

and that have no substantial uses other than ones that infringe one or more claims of the ’464

patent, including, for example, claim 1. The special features constitute a material part of the

invention of one or more of the claims of the ’464 patent and are not staple articles of commerce

suitable for substantial non-infringing use. Defendant’s contributory infringement is ongoing.

    44.     Defendant had knowledge of the ’464 patent at least as of the date when it was notified




                                             Page | 8
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 9 of 25




of the filing of this action.

    45.      Furthermore, on information and belief, Defendant has a policy or practice of not

reviewing the patents of others, including instructing its employees to not review the patents of

others, and thus have been willfully blind of IoT Innovations’ patent rights.

    46.      Defendant’s actions are at least objectively reckless as to the risk of infringing a valid

patent and this objective risk was either known or should have been known by Defendant.

    47.      IoT Innovations has been damaged as a result of the infringing conduct by Defendant

alleged above. Thus, Defendant is liable to IoT Innovations in an amount that compensates it for

such infringements, which by law cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

    48.      IoT Innovations has suffered irreparable harm, through its loss of market share and

goodwill, for which there is no adequate remedy at law. IoT Innovations has and will continue to

suffer this harm by virtue of Defendant’s infringement of the ’464 patent. Defendant’s actions

have interfered with and will interfere with IoT Innovations’ ability to license technology. The

balance of hardships favors IoT Innovations’ ability to commercialize its own ideas and

technology. The public interest in allowing IoT Innovations to enforce its right to exclude

outweighs other public interests, which supports injunctive relief in this case.

               COUNT III: INFRINGEMENT OF U.S. PATENT NO. 7,756,073

    49.      Plaintiff repeats and re-alleges the allegations in the Paragraphs above as though fully

set forth in their entirety.

    50.      The USPTO duly issued U.S. Patent No. 7,756,073 (hereinafter, the “’073 patent”) on

July 13, 2010, after full and fair examination of Application No. 10/247,567 which was filed on

September 20, 2002. See Ex. C, at C-1.



                                               Page | 9
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 10 of 25




    51.     IoT Innovations owns all substantial rights, interest, and title in and to the ’073 patent,

including the sole and exclusive right to prosecute this action and enforce it against infringers and

to collect damages for all relevant times.

    52.     The claims of the ’073 patent are not directed to an abstract idea and are not limited to

well-understood, routine, or conventional activity.        Rather, the claimed inventions include

inventive components and functionalities that improve tools for searching electronic information

repositories and retrieving relevant results using queries and results built from natural language.

    53.     The written description of the ’073 patent describes in technical detail each limitation

of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

conventional and non-generic combination of claim limitations is patently distinct from and

improved upon what may have been considered conventional or generic in the art at the time of

the invention.

    54.     Defendant has directly infringed and continues to directly one or more claims of the

’073 patent by using, providing, supplying, or distributing the Accused Instrumentalities.

    55.     Defendant has directly infringed, either literally or under the doctrine of equivalents,

at least claim 1 of the ’073 patent.

    56.     For example, Defendant, using the Accused Instrumentalities, including but not

limited to the SimpliSafe Account, performs a method comprising requesting a routing entry

update, by a first node of a network, to a second node of the network, wherein said update request

includes an identification of the update request; submitting request verification information,

associated with said identification of the update request, from said first node to at least one routing

node of the network; transmitting a request for verification of said routing entry update from said

second node to said routing node using said identification of the update request; and retrieving said




                                              Page | 10
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 11 of 25




request verification information from said routing node based on said identification of the update

request. See, e.g., Ex. I; Exhibit L.

    57.     Defendant performs this method by, for example, by installing and using the

SimpliSafe Alarm System including, but not limited to, the Keypad, Base Station, and Motion

Sensors. See, e.g., Ex. N; Ex. J. For example, installation and use of the SimpliSafe Alarm System

utilizes 2-step verification, multi-factor verification, and/or biometric verification in a manner that

infringes at least claim 1 of the ’073 patent. See, e.g., Ex. O.

    58.     IoT Innovations or its predecessors-in-interest have satisfied all statutory obligations

required to collect pre-filing damages for the full period allowed by law for infringement of one

or more claims of the ’073 patent.

    59.     Since at least the time of receiving the original complaint in this action, Defendant has

also indirectly infringed and continues to indirectly infringe one or more claims of the ’073 patent

by inducing others to directly infringe said claims. Defendant has induced end-users, including,

but not limited to, Defendant’s employees, partners, or contractors, to directly infringe, either

literally or under the doctrine of equivalents, the ’073 patent by providing or requiring use of the

Accused Instrumentalities. Defendant has taken active steps, directly or through contractual

relationships with others, with the specific intent to cause them to use the Accused

Instrumentalities in a manner that infringes one or more claims of the ’073 patent, including, for

example, claim 1. Such steps by Defendant included, among other things, advising or directing

personnel, contractors, or end-users to use the Accused Instrumentalities in an infringing manner;

advertising and promoting the use of the Accused Instrumentalities in an infringing manner; or

distributing instructions that guide users to use the Accused Instrumentalities in an infringing

manner. Defendant is performing these steps, which constitute induced infringement with the




                                              Page | 11
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 12 of 25




knowledge of the ’073 patent and with the knowledge that the induced acts constitute infringement.

Defendant is aware that the normal and customary use of the Accused Instrumentalities by others

would infringe the ’073 patent. Defendant’s inducement is ongoing. See, e.g., Ex. I.

    60.      Defendant has also indirectly infringed and continues to indirectly infringe by

contributing to the infringement of the ’073 patent. Defendant has contributed to the direct

infringement of the ’073 patent by its personnel, contractors, and customers. The Accused

Instrumentalities have special features that are specially designed to be used in an infringing way

and that have no substantial uses other than ones that infringe one or more claims of the ’073

patent, including, for example, claim 1. The special features constitute a material part of the

invention of one or more of the claims of the ’073 patent and are not staple articles of commerce

suitable for substantial non-infringing use. Defendant’s contributory infringement is ongoing.

    61.      Defendant had knowledge of the ’073 patent at least as of the date when it was notified

of the filing of this action.

    62.      Furthermore, on information and belief, Defendant has a policy or practice of not

reviewing the patents of others, including instructing its employees to not review the patents of

others, and thus have been willfully blind of IoT Innovations’ patent rights.

    63.      Defendant’s actions are at least objectively reckless as to the risk of infringing a valid

patent and this objective risk was either known or should have been known by Defendant.

    64.      IoT Innovations has been damaged as a result of the infringing conduct by Defendant

alleged above. Thus, Defendant is liable to IoT Innovations in an amount that compensates it for

such infringements, which by law cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

    65.      IoT Innovations has suffered irreparable harm, through its loss of market share and




                                              Page | 12
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 13 of 25




goodwill, for which there is no adequate remedy at law. IoT Innovations has and will continue to

suffer this harm by virtue of Defendant’s infringement of the ’073 patent. Defendant’s actions

have interfered with and will interfere with IoT Innovations’ ability to license technology. The

balance of hardships favors IoT Innovations’ ability to commercialize its own ideas and

technology. The public interest in allowing IoT Innovations to enforce its right to exclude

outweighs other public interests, which supports injunctive relief in this case.

               COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 7,394,798

    66.      Plaintiff repeats and re-alleges the allegations in the Paragraphs above as though fully

set forth in their entirety.

    67.      The USPTO duly issued U.S. Patent No. 7,394,798 (hereinafter, the “’798 patent”) on

July 1, 2008, after full and fair examination of Application No. 10/962,694 which was filed on

October 13, 2004. See Ex. D, at D-1.

    68.      IoT Innovations owns all substantial rights, interest, and title in and to the ’798 patent,

including the sole and exclusive right to prosecute this action and enforce it against infringers and

to collect damages for all relevant times.

    69.      The claims of the ’798 patent are not directed to an abstract idea and are not limited to

well-understood, routine, or conventional activity.        Rather, the claimed inventions include

inventive components and functionalities that improve tools for searching electronic information

repositories and retrieving relevant results using queries and results built from natural language.

    70.      The written description of the ’798 patent describes in technical detail each limitation

of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

conventional and non-generic combination of claim limitations is patently distinct from and

improved upon what may have been considered conventional or generic in the art at the time of



                                               Page | 13
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 14 of 25




the invention.

    71.     Defendant has directly infringed and continues to indirectly infringe one or more

claims of the ’798 patent by using, providing, supplying, or distributing the Accused

Instrumentalities.

    72.     Defendant has directly infringed, either literally or under the doctrine of equivalents,

at least claim 30 of the ’798 patent.

    73.     For example, Defendant, using the Accused Instrumentalities, including but not

limited to the SimpliSafe Doorbell Pro, provides a network control node, comprising means for

establishing a connection between two groups of network nodes, wherein each group of network

nodes is formed temporarily and comprises at least two network nodes, a connection between the

network control node and at least one network node is established via a mobile communication

network, and the connection within each group is provided as a direct contact via a radio

connection between at least two network nodes of the group, wherein the radio connection is a

half-duplex radio connection. See, e.g., Exhibit K.

    74.     Defendant performs this method by, for example, using the two-way audio feature of

the SimpliSafe Doorbell Pro which infringes at least claim 30 of the ’798 patent. See, e.g., Exhibit

P; Ex. K.

    75.     IoT Innovations or its predecessors-in-interest have satisfied all statutory obligations

required to collect pre-filing damages for the full period allowed by law for infringement of one

or more claims of the ’798 patent.

    76.     Since at least the time of receiving the original complaint in this action, Defendant has

also indirectly infringed and continues to indirectly infringe one or more claims of the ’798 patent

by inducing others to directly infringe said claims. Defendant has induced end-users, including,




                                             Page | 14
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 15 of 25




but not limited to, Defendant’s employees, partners, or contractors, to directly infringe, either

literally or under the doctrine of equivalents, the ’798 patent by providing or requiring use of the

Accused Instrumentalities. Defendant has taken active steps, directly or through contractual

relationships with others, with the specific intent to cause them to use the Accused

Instrumentalities in a manner that infringes one or more claims of the ’798 patent, including, for

example, claim 30. Such steps by Defendant included, among other things, advising or directing

personnel, contractors, or end-users to use the Accused Instrumentalities in an infringing manner;

advertising and promoting the use of the Accused Instrumentalities in an infringing manner; or

distributing instructions that guide users to use the Accused Instrumentalities in an infringing

manner. Defendant is performing these steps, which constitute induced infringement with the

knowledge of the ’798 patent and with the knowledge that the induced acts constitute infringement.

Defendant is aware that the normal and customary use of the Accused Instrumentalities by others

would infringe the ’798 patent. Defendant’s inducement is ongoing. See, e.g., id.; Ex. I.

    77.      Defendant has also indirectly infringed and continues to indirectly infringe by

contributing to the infringement of the ’798 patent. Defendant has contributed to the direct

infringement of the ’798 patent by its personnel, contractors, and customers. The Accused

Instrumentalities have special features that are specially designed to be used in an infringing way

and that have no substantial uses other than ones that infringe one or more claims of the ’798

patent, including, for example, claim 30. The special features constitute a material part of the

invention of one or more of the claims of the ’798 patent and are not staple articles of commerce

suitable for substantial non-infringing use. Defendant’s contributory infringement is ongoing.

    78.      Defendant had knowledge of the ’798 patent at least as of the date when it was notified

of the filing of this action.




                                             Page | 15
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 16 of 25




    79.      Furthermore, on information and belief, Defendant has a policy or practice of not

reviewing the patents of others, including instructing its employees to not review the patents of

others, and thus have been willfully blind of IoT Innovations’ patent rights.

    80.      Defendant’s actions are at least objectively reckless as to the risk of infringing a valid

patent and this objective risk was either known or should have been known by Defendant.

    81.      IoT Innovations has been damaged as a result of the infringing conduct by Defendant

alleged above. Thus, Defendant is liable to IoT Innovations in an amount that compensates it for

such infringements, which by law cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

    82.      IoT Innovations has suffered irreparable harm, through its loss of market share and

goodwill, for which there is no adequate remedy at law. IoT Innovations has and will continue to

suffer this harm by virtue of Defendant’s infringement of the ’798 patent. Defendant’s actions

have interfered with and will interfere with IoT Innovations’ ability to license technology. The

balance of hardships favors IoT Innovations’ ability to commercialize its own ideas and

technology. The public interest in allowing IoT Innovations to enforce its right to exclude

outweighs other public interests, which supports injunctive relief in this case.

                COUNT V: INFRINGEMENT OF U.S. PATENT NO. 7,593,428

    83.      Plaintiff repeats and re-alleges the allegations in the Paragraphs above as though fully

set forth in their entirety.

    84.      The USPTO duly issued U.S. Patent No. 7,593,428 (hereinafter, the “’428 patent”) on

September 22, 2009, after full and fair examination of Application No. 11/621,545 which was filed

on January 9, 2007. See Ex. E, at E-1.

    85.      IoT Innovations owns all substantial rights, interest, and title in and to the ’ 428 patent,



                                               Page | 16
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 17 of 25




including the sole and exclusive right to prosecute this action and enforce it against infringers and

to collect damages for all relevant times.

    86.     The claims of the ’428 patent are not directed to an abstract idea and are not limited to

well-understood, routine, or conventional activity.      Rather, the claimed inventions include

inventive components and functionalities that improve tools for searching electronic information

repositories and retrieving relevant results using queries and results built from natural language.

    87.     The written description of the ’428 patent describes in technical detail each limitation

of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

conventional and non-generic combination of claim limitations is patently distinct from and

improved upon what may have been considered conventional or generic in the art at the time of

the invention.

    88.     Defendant has directly infringed one or more claims of the ’428 patent by using,

providing, supplying, or distributing the Accused Instrumentalities.

    89.     Defendant has directly infringed, either literally or under the doctrine of equivalents,

at least claim 14 of the ’428 patent.

    90.     For example, Defendant, using the Accused Instrumentalities, including but not

limited to SimpliSafe’s Indoor Camera and its associated hardware and software, performs a

method comprising receiving data from a data source at a transceiver station; and in response to

programmed instructions in processing circuitry at the transceiver station; selecting a first portion

of the data to be protected by a first checksum and selecting a second portion of the data to be

protected by a second checksum; performing a first checksum calculation upon the selected first

portion and performing at least a second checksum calculation upon the selected second portion;

and formatting the data into a packet-formatted data packet, wherein the packet-formatted data




                                             Page | 17
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 18 of 25




packet comprises the selected first portion, indicia associated with the first checksum calculation,

the selected second portion, and indicia associated with the second checksum calculation. See,

e.g., Ex. H.

    91.        For example, the SimpliSafe, aka, SimpliCam, Indoor Camera includes a data source,

e.g., a memory containing video data and identification data, that receives data, and the SimpliSafe

Indoor Camera then causes the, e.g., one or more Wifi chipsets to receive and perform instructions

in a manner that infringes, e.g., claim 14 of the ’428 patent. See, e.g., Exhibit S.

    92.        IoT Innovations or its predecessors-in-interest have satisfied all statutory obligations

required to collect pre-filing damages for the full period allowed by law for infringement of one

or more claims of the ’428 patent.

    93.        IoT Innovations has been damaged as a result of the infringing conduct by Defendant

alleged above. Thus, Defendant is liable to IoT Innovations in an amount that compensates it for

such infringements, which by law cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

                 COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 7,304,570

    94.        Plaintiff repeats and re-alleges the allegations in the Paragraphs above as though fully

set forth in their entirety.

    95.        The USPTO duly issued U.S. Patent No. 7,304,570 (hereinafter, the “’570 patent”) on

December 4, 2007, after full and fair examination of Application No. 11/200,611 which was filed

on August 10, 2005. See Ex. F. A Certificate of Correction was issued on November 4, 2008.

See id, at F-15.

    96.        IoT Innovations owns all substantial rights, interest, and title in and to the ’570 patent,

including the sole and exclusive right to prosecute this action and enforce the ’570 patent against



                                                 Page | 18
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 19 of 25




infringers and to collect damages for all relevant times.

    97.     The claims of the ’570 patent are not directed to an abstract idea and are not limited to

well-understood, routine, or conventional activity.         Rather, the claimed inventions include

inventive components that improve upon the function and operation of context-based, hierarchical

security for a mobile device.

    98.     The written description of the ’570 patent describes in technical detail each limitation

of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

conventional and non-generic combination of claim limitations is patently distinct from and

improved upon what may have been considered conventional or generic in the art at the time of

the invention.

    99.     Defendant has directly infringed and continues to directly infringe one or more claims

of the ’570 patent by using, providing, supplying, or distributing the Accused Instrumentalities.

   100.     Defendant has directly infringed, either literally or under the doctrine of equivalents,

at least claim 1 of the ’570 patent.

   101.     For example, Defendant, using the Accused Instrumentalities performs a method for

providing context-based, hierarchical security for a mobile device, the method comprising storing

a hierarchy of security actions for at least one of protecting data stored on a mobile device and

preventing unauthorized use of the mobile device, the hierarchy including a plurality of security

levels, each security level including at least one context-based security action; performing at least

one security action associated with a first security level in response to the existence of a first

context associated with the first security level; and performing at least one security action

associated with a second security level in response to the existence of a second context associated

with the second security level. See, e.g., Exhibit Q, at Q-2.




                                             Page | 19
          Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 20 of 25




   102.     Defendant performs this method by, for example, using and causing to be used on the

SimpliSafe Keypad personal identification number (“PINs”) in a manner that infringes, e.g., claim

1 of the ’570 patent. See, e.g., Exhibit R.

   103.     Since at least the time of receiving the original complaint in this action, Defendant has

also indirectly infringed and continues to indirectly infringe the ’570 patent by inducing others to

directly infringe the ’570 patent. Defendant has induced end-users, including, but not limited to,

Defendant’s employees, partners, or contractors, to directly infringe, either literally or under the

doctrine of equivalents, the ’570 patent by providing or requiring use of the Accused

Instrumentalities. Defendant took active steps, directly or through contractual relationships with

others, with the specific intent to cause them to use the Accused Instrumentalities in a manner that

infringes one or more claims of the ’570 patent, including, for example, claim 1 of the ’570 patent.

Such steps by Defendant included, among other things, advising or directing personnel,

contractors, or end-users to use the Accused Instrumentalities in an infringing manner; advertising

and promoting the use of the Accused Instrumentalities in an infringing manner; or distributing

instructions that guide users to use the Accused Instrumentalities in an infringing manner.

Defendant is performing these steps, which constitute induced infringement with the knowledge

of the ’570 patent and with the knowledge that the induced acts constitute infringement. Defendant

is aware that the normal and customary use of the Accused Instrumentalities by others would

infringe the ’570 patent. Defendant’s inducement is ongoing. See, e.g., Ex. I.

   104.     Defendant has also indirectly infringed       and continues to indirectly infringe by

contributing to the infringement of the ’570 patent. Defendant has contributed to the direct

infringement of the ’570 patent by its personnel, contractors, and customers. The Accused

Instrumentalities have special features that are specially designed to be used in an infringing way




                                              Page | 20
           Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 21 of 25




and that have no substantial uses other than ones that infringe one or more claims of the ’570

patent, including, for example, claim 1 of the ’570 patent. The special features constitute a material

part of the invention of one or more of the claims of the ’570 patent and are not staple articles of

commerce suitable for substantial non-infringing use. Defendant’s contributory infringement is

ongoing.

   105.      Defendant had knowledge of the ’570 patent at least as of the date when it was notified

of the filing of this action.

   106.      Furthermore, on information and belief, Defendant has a policy or practice of not

reviewing the patents of others, including instructing its employees to not review the patents of

others, and thus have been willfully blind of IoT Innovations’ patent rights.

   107.      Defendant’s actions are at least objectively reckless as to the risk of infringing a valid

patent and this objective risk was either known or should have been known by Defendant.

   108.      Defendant’s direct infringement of one or more claims of the ’570 patent is, has been,

and continues to be willful, intentional, deliberate, or in conscious disregard of IoT Innovations’

rights under the patent.

   109.      IoT Innovations or its predecessors-in-interest have satisfied all statutory obligations

required to collect pre-filing damages for the full period allowed by law for infringement of one

or more claims of the ’570 patent.

   110.      IoT Innovations has been damaged as a result of the infringing conduct by Defendant

alleged above. Thus, Defendant is liable to IoT Innovations in an amount that compensates it for

such infringements, which by law cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

   111.      IoT Innovations has suffered irreparable harm, through its loss of market share and




                                              Page | 21
           Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 22 of 25




goodwill, for which there is no adequate remedy at law. IoT Innovations has and will continue to

suffer this harm by virtue of Defendant’s infringement of the ’570 patent. Defendant’s actions

have interfered with and will interfere with IoT Innovations’ ability to license technology. The

balance of hardships favors IoT Innovations’ ability to commercialize its own ideas and

technology. The public interest in allowing IoT Innovations to enforce its right to exclude

outweighs other public interests, which supports injunctive relief in this case.

                                           JURY DEMAND

   112.        IoT Innovations hereby requests a trial by jury on all issues so triable by right.

                                       PRAYER FOR RELIEF

   113.        IoT Innovations requests that the Court find in its favor and against Defendant, and

that the Court grant IoT Innovations the following relief:

          a.      Judgment that one or more claims of each of the Asserted Patents has been

                  infringed, either literally or under the doctrine of equivalents, by Defendant or

                  others acting in concert therewith;

          b.      A permanent injunction enjoining Defendant and its officers, directors, agents,

                  servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all

                  others acting in concert therewith from infringement of the ’464 patent, the ’073

                  patent, the ’798 patent, and the ’570 patent; or, in the alternative, an award of a

                  reasonable ongoing royalty for future infringement of said patents by such entities;

          c.      Judgment that Defendant accounts for and pays to IoT Innovations all damages to

                  and costs incurred by IoT Innovations because of Defendant’s infringing activities

                  and other conduct complained of herein;




                                                Page | 22
 Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 23 of 25




d.   Judgment that Defendant’s infringements be found willful as to the ’464 patent, the

     ’073 patent, the ’798 patent, and the ’570 patent, and that the Court award treble

     damages for the period of such willful infringement pursuant to 35 U.S.C. § 284;

e.   Pre-judgment and post-judgment interest on the damages caused by Defendant’s

     infringing activities and other conduct complained of herein;

f.   That this Court declare this an exceptional case and award IoT Innovations its

     reasonable attorneys’ fees and costs in accordance with 35 U.S.C. § 285; and

g.   All other and further relief as the Court may deem just and proper under the

     circumstances.




                                  Page | 23
        Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 24 of 25




Dated: March 9, 2023                      Respectfully submitted,

                                          By its attorneys
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                                          Page | 24
        Case 1:23-cv-10520-RGS Document 1 Filed 03/09/23 Page 25 of 25




List Of Exhibits
A. U.S. Patent No. 6,801,933
B. U.S. Patent No. 7,379,464
C. U.S. Patent No. 7,756,073
D. U.S. Patent No. 7,394,798
E. U.S. Patent No. 7,593,428
F. U.S. Patent No. 7,304,570
G. Wireless Security Camera System | SimpliSafe Indoor Security Camera
H. SimpliSafe Home Security Systems | Wireless Home Security Alarms
I. App Support | SimpliSafe Help Center
J. Shop DIY Home Security Systems & Packages | SimpliSafe
K. Wired Video Doorbell Camera | SimpliSafe
L. Securing Your SimpliSafe Account | SimpliSafe Help Center
M. SimpliCam Indoor Camera Installation Guide | SimpliSafe Help Center
N. Wireless Home Security Alarm System | SimpliSafe Features
O. Inside SimpliSafe Alarm System | Tenable TechBlog
P. How to use the Video Doorbells 2-Way Audio | SimpliSafe Help Center
Q. Does any of my data (camera-microphones) go via a SimpliSafe server? | SimpliSafe Help
   Center
R. Setting Up A New PIN | SimpliSafe Help Center
S. Wireless Security Camera System | SimpliCam Indoor Security Camera




                                         Page | 25
